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 1   SEYFARTH SHAW LLP
     Pamela Q. Devata (pro hac vice)
 2   pdevata@seyfarth.com
     John W. Drury (pro hac vice)
 3   jdrury@seyfarth.com
     233 South Wacker Drive, Suite 8000
 4   Chicago, Illinois 60606-6448
     Telephone: (312) 460-5000
 5   Facsimile: (312) 460-7000
 6   SEYFARTH SHAW LLP
     Christopher J. Truxler (SBN# 282354)
 7   ctruxler@seyfarth.com
     400 Capitol Mall, Suite 2350
 8   Sacramento, California 95814
     Telephone: (916) 448-0159
 9   Facsimile: (916) 558-4839
10   SEYFARTH SHAW LLP
     Christopher Lee (SBN# 274639)
11   chlee@seyfarth.com
     2029 Century Park East, Suite 3500
12   Los Angeles, California 90067
     Telephone: (310) 201-1589
13   Facsimile: (310) 201-5219
14   Attorneys for Defendants
     Confi-Chek, Inc. d/b/a Peoplefinders.com and d/b/a Advanced Background
15   Checks; and Enformion, Inc.
16                          UNITED STATES DISTRICT COURT
17                        EASTERN DISTRICT OF CALIFORNIA
18
     DAVID GARZA, NASER ALZER,                Case No. 2:18-cv-01968-KJM-EFB
19   KIMBERLY KENNEDY,
     AMANDEEP SINGH, SAMAH                    The Honorable Kimberly J. Mueller
20
     HAIDER, ON BEHALF OF                     Magistrate Judge Edmund F. Brennan
21   THEMSELVES AND OF OTHER
     SIMILARLY SITUATED,                      NOTICE OF WITHDRAWAL OF
22                  Plaintiffs,               MOTION TO CHANGE VENUE TO
                                              THE EASTERN DISTRICT OF TEXAS
23         vs.
                                              Complaint Filed: July 16, 2018
24   CONFI-CHEK, INC., A HOLDING
     COMPANY FOR
25   PEOPLEFINDERS.COM;
     ENFORMION, INC.; AND
26   ADVANCED BACKGROUND
     CHECKS,
27
                    Defendants.
28


       NOTICE OF WITHDRAWAL OF MOTION TO CHANGE VENUE TO THE EASTERN DISTRICT OF TEXAS
             Case 2:18-cv-01968-KJM-EFB Document 48 Filed 02/25/19 Page 2 of 4

 1            TO THE COURT AND ALL PARTIES:
 2            Please take notice that Defendants withdraw their motion to change venue to the
 3   Eastern District of Texas filed on January 29, 2019 and initially set to be heard on March
 4   8, 2019 at 10:00 a.m. Dkt. No. 42.
 5

 6   DATED: February 25, 2019             Respectfully submitted,
 7                                        SEYFARTH SHAW LLP
 8                                        By: /s Christopher Lee
                                             Pamela Q. Devata
 9                                           John W. Drury
                                             Christopher J. Truxler
10                                           Christopher Lee
                                             Attorneys for Defendants
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         NOTICE OF WITHDRAWAL OF MOTION TO CHANGE VENUE TO THE EASTERN DISTRICT OF TEXAS
     55222732v.1
             Case 2:18-cv-01968-KJM-EFB Document 48 Filed 02/25/19 Page 3 of 4

 1                                 CERTIFICATE OF SERVICE
 2          I am a resident of the State of California, over the age of eighteen years, and not a
     party to the within action. My business address is Seyfarth Shaw LLP, 2029 Century
 3   Park East, Suite 3500, Los Angeles, California 90067-3021.
 4            On February 25, 2019, I served the following document(s):
 5            1)    NOTICE OF WITHDRAWAL OF MOTION TO CHANGE VENUE
                    TO THE EASTERN DISTRICT OF TEXAS
 6
        by placing the document(s) listed above in a sealed envelope with postage thereon
 7       fully prepaid, in the United States mail at Los Angeles, California, addressed as set
         forth below.
 8
        by personally delivering the document(s) listed above to the person(s) at the
 9       address(es) set forth below.
10      by placing the document(s) listed above, together with an unsigned copy of this
         declaration, in a sealed envelope or package provided by an overnight delivery
11       carrier with postage paid on account and deposited for collection with the
         overnight carrier at Los Angeles, California, addressed as set forth below.
12
        Electronically via the Court’s CM/ECF System.
13

14                          Service was made on the parties listed below:
15             William David George, Esq.                Stephanie R. Tatar, Esq.
               dgeorge@bakerwotring.com                  stephanie@thetatarlawfirm.com
16
               Baker Wotring LLP                         Tatar Law Firm
17             600 Travis St.                            3500 W. Olive Ave., Suite 300
               Houston, TX 77002                         Burbank, CA 91505
18
               (713) 980-1700                            (323) 744-1146
19
               Thomas J. Lyons
20
               tommy@consumerjusticecenter.com
21             Consumer Justice Center
               367 Commerce Court
22
               Vadnais Heights, MN 55127
23             (800) 556-6752
24          I am readily familiar with the firm's practice of collection and processing
25
     correspondence for mailing. Under that practice it would be deposited with the U.S.
     Postal Service on that same day with postage thereon fully prepaid in the ordinary course
26
     of business. I am aware that on motion of the party served, service is presumed invalid if
     postal cancellation date or postage meter date is more than one day after date of deposit
27
     for mailing in affidavit.

28

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         NOTICE OF WITHDRAWAL OF MOTION TO CHANGE VENUE TO THE EASTERN DISTRICT OF TEXAS
     55222732v.1
Case 2:18-cv-01968-KJM-EFB Document 48 Filed 02/25/19 Page 4 of 4
